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                                                        August 7, 2019


           The Honorable Cynthia M. Rufe
           United States District Court
           Eastern District of Pennsylvania
           James A. Byrne U.S. Courthouse
           601 Market Street, Suite 12614
           Philadelphia, PA 19106-1797

                     Re:       In re: Generic Pharmaceuticals Pricing Antitrust Litigation,
                               16-MD-2724 (E.D. Pa.)


          Dear Judge Rufe:

                  The undersigned counsel (collectively, “Defendants”) write regarding the upcoming
          August 21, 2019 Leadership Status Conference. In light of Special Master Marion’s expressed
          intent to have substantive discussions about his forthcoming recommendation for a case
          management order and discovery schedule at that Leadership Status Conference, we respectfully
          request that the Court convert the conference to a General Status Conference open to all parties to
          the MDL.

                 As the Court is aware, Defense Liaison Counsel do not represent any particular Defendant
          and they do not have the authority to represent the interests of, or advocate on behalf of, individual
          Defendants regarding substantive issues that impact all Defendants in the case, such as a proposed
          case management order and discovery schedule. This is particularly true where, as here,
          Defendants are situated differently and have varied interests at stake regarding the case
          management order and discovery schedule. Unlike Lead Counsel for Plaintiffs, Defense Liaison
          Counsel are only “authorized to perform all necessary administrative functions.” (Pretrial Order
          No. 22, Dkt. No. 343 (emphasis added)); see also MANUAL FOR COMPLEX LITIGATION (FOURTH)
          § 10.221 (2004) (stating liaison counsel is “charged with essentially administrative matters”).

                  Every Defendant should be allowed to participate in any conference that will include a
          discussion of substantive issues, such as the August 21 Leadership Status Conference. A case
          management order and discovery schedule governing the structure and conduct of this MDL
          directly and significantly impacts the scope of discovery and Defendants’ corresponding rights
          and obligations under the Federal Rules. Any discussions of those topics are thus inherently


Chicago       Hong Kong        London   Los Angeles      Munich      Palo Alto   San Francisco   Shanghai        Washington, D.C.
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substantive in nature. If they are discussed at a Leadership Status Conference, only Plaintiffs
would have representatives who would be able to advocate for their interests, while Defense
Liaison Counsel would be unable to advocate for Defendants’ interests. Such an imbalance of
representation is one of the reasons why courts are strictly limited in their ex parte communications
or proceedings to non-substantive matters. See MODEL CODE OF JUDICIAL CONDUCT Canon 2 r.
2.9(A) (AM. BAR ASS’N 2013).

        To ensure that all Defendants are adequately represented in connection with the substantive
discussions related to any proposed case management order and discovery schedule, Defendants
respectfully request that the Court convert the August 21 Leadership Status Conference to a
General Status Conference.

                                                       Respectfully submitted,

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